 Case
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 1   CHARLES E. KELLY, ESQ.
     Nevada Bar No. 4652
 2   706 South Eighth Street
 3   Las Vegas, Nevada 89101
     (702) 385-0777
 4   Attorney for Defendant
 5
 6
                                  UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,                 ) 2:11 CR 00062 JCM LRL
10                                             )
              Plaintiff,                       )
11
                                               )
12   vs.                                       ) STIPULATION TO CONTINUE
                                               ) SENTENCING DATE
13                                             ) (Third Request)
     PAMELA BLACK,                             )
14
                                               )
15             Defendant.                      )

16          COMES NOW, Defendant, by and through her counsel, Charles E. Kelly and the United
17   States, by and through Assistant United States Attorney, Sarah Griswold, and hereby requests
18   that this Court approve this Stipulation to Continue the Defendant’s Sentencing date until mid
19   July 2012, or to a convenient date for the Court.
20          The Government does not oppose this Request. The Request is not made for the
21   purposes of delay, and is in the interests of justice. Ms. Black is a critical witness for the
22   Government in a case that is scheduled to go to trial July 9, 2012. Both parties wish to continue
23   this matter in order to afford Ms. Black the opportunity to testify before being sentenced.
24          WHEREFORE, Defendant and the United States requests that this Sentencing be
25   postponed to a date convenient for the Court, but no sooner than no sooner than July 18, 2012.
26
27                                                  Respectfully Submitted,
28
                                                    /s/______________________

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 Case
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 1                                  Charles E. Kelly
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 2                                  706 S. Eighth Street
 3                                  Las Vegas, NV 89101
                                    (702) 385-0777
 4
                                    /s/_______________________
 5                                  Sarah Griswold
 6                                  Assistant United States Attorney

 7
 8
                               “THE ABOVE-MENTIONED REQUEST FOR A
 9
                               SENTENCING CONTINUANCE IS HEREBY
10                             GRANTED, ORDERED, AND ADJUDGED”
11
12                                  ____________________________
                                    _ ___________________________
                                    __
                                    James
                                    J mess C.
                                    Ja     C. Mahan
13                                  UNITED STATES DISTRICT JUDGE
14
                                           April 20, 2012
15                                  DATED:______________________
16                                                   7-23-2012
                                    SENTENCING DATE:____________
17                                  SENTENCING TIME:____________
                                                     at 11:00 a.m.
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